   Case 1:18-cv-00830-WMR Document 171 Filed 12/21/20 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

Norman MacPhee
Individually and on Behalf of All Others
Similarly Situated, et al
   Plaintiff,
      v.                                   CIVIL ACTION FILE
                                           NO. 1:18-cv-830-WMR

 MiMedx Group, Inc.,
 et al

   Defendants.


                       NOTICE OF HEARING
      Notice is hereby given that the Court sets a hearing to be
conducted via ZOOM VIDEO on the Motion to Strike [Doc 138]
and Motions to Dismiss [Doc 139, 140, 142, 143] in this case
for Tuesday, February 23, 2021 at 9:30 a.m. before the
Honorable William M. Ray, II. The hearing will NOT be a live
hearing in the courtroom. Instructions for ZOOM VIDEO will be
sent separately from the docket.
            Each side shall submit prior to the start of the
hearing, a proposed order which includes findings of fact
and conclusions of law for each motion being heard.
Orders      should      be    submitted      by    email     to:
sherri_lundy@gand.uscourts.gov.
     SO ORDERED, this 21st day of December, 2020.
